                                                                                           E-FILED
                                                          Monday, 28 September, 2020 01:36:08 PM
                                                                      Clerk, U.S. District Court, ILCD
                              UjITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION




AARON O' NEAL,
      Pl aintiff,                        \

                                         \
      vs .                                             Case No. 18-CV-4063- SEM-TSH


MANUAL ROJAS , et al . ,
      Defendant's .




                 MOTION FbR LEAvK·TO -CORRECT ERRORS IN PLAINTIFFS '
                RESPONSE TO DEFENDANT' S MOTION FOR SUMMARY JUDGME..l\fi'




       COMES NOW, Plaintiff, AARON O'NEAL, prose, and move this Honorable

Court for leave to correct erroh' that appear in his response to defendant's
motion for summary judgment . In support thereof, plaintiff Aaron O'Neal state
as follows:
       1. on   'if'uJy 2,0,    2020 Defendant's filed their motion for sumnary
judgment. Cb0(:.$ . 121, 12.2., 12.3,J
       2. Plaintiff subsequently filed for a motion for extent i on of time to
respond to defendant's motion for sumnary judgment       on Au3us+-4.,2020. (Doc. 125)
       3 . Extention of t ime was granted by this court up t o and including

September 18 , 2020.   [Doc. 125]~


                                             L
      4 . Plaintiff O'Neal timely filed his response to defendant's motion
for summary judgment. However, after the filing plaintiff became aware that
a nl.llTlber of error's, on his part, were made in the filing, and that said
errors are significant to an accurate understanding of of the allegations

advanced in his response.
      WHEREFORE , it is for the above reasons plaintiff Aaron O'Neal seeks
leave of this court to correct the vital erros in his r esponse to defendants
motion for srnmary judgment .



                                                   Pi~~
                                                   Aaron O' Neal, Plaintiff, prose




                                     2.
                         UNITED STATES DISTRICT C.OURT
              CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVI SION




MRON O' NEAL,
     Pl aintiff,
                                   l
      vs.                                          Case No. 18-CV-4063-SEM-TSH


MANUAL ROJAS, et al. ,
      Defendant's.




                           MOTION TO C.ORRECT ERROR'S




      C.OMES NOW, Plainti ff AARON O'NEAL, prose , and sul:xnit to this court
his motion to correct the errors in his response to the defendant's motion
(or summary judgment. Plaintiff submit the following corrections t o be made
in his response to defendant's motion for summary judgment:

      L On Page #10 of Plaintiffs' response at line #18 , pl ai ntiff seek to
strike from his response Document 00001-12), as there is no supporting exhbit
corresponding to exhibi t #00001-12).
      2. on Page #15 of Plaintiffs' response at line #3, the name Joe La.Hood

is listed in error. The correct name should be Joe O'Tool.
      3. Document's 000050 and 000054 wet:not attached at the time of filing




                                        C')
plaintiffs ' response to defendant's motion for surrnnary , and include both docu-
ment ' s 000050 and 000054 with this filing to be attached along wi th his response
to defendant's motion for smimary judgment .




                                   ( ~)
1/3/2020                                                               Section 425



                             Joint Committee on Administrative Rules

                             ADMINISTRATIVE CODE
               TITLE 20: CORRECTIONS, CRIMINAL JUSTICE, AND LAW ENFORCEMENT
                            CHAPTER I: DEPARTMENT OF CORRECTIONS
                             SUBCHAPTER d: PROGRAMS AND SERVICES
                   PART 425 CHAPLAINCY SERVICES AND RELIGIOUS PRACTICES
                      SECTION 425.40 RELIGIOUS PRACTICE ADVISORY BOARD



           Section 425.40 Religious Practice Advisory Board

                  a)       The Director shall appoint a multi-denominational Religious Practice Advisory
                           Board comprised of legal, administrative, and chaplaincy staff. One of the members
                           of the Board shall be designated as chairperson.

                  b)        The Board shall, among other matters:

                          ,· l )   _1    Provide guidance to the Department regarding religious activities.

                           2) 1          Review and make recommendations regarding designated:

                                         A)      Religious grievances filed by committed persons;

                                    ....,.. B)   Requests from committed persons for religious diets, non-traditional
                                                 religious symbols, headgear, clothing, and other religious items;

                                         C)      Requests from committed persons for religious activities not
                                                 currently offered at the correctional facility and for religious
                                                 activities permitted under Section 425.60(f);

                                         D)      Requests from committed persons for relief from a work assignment
                                                 or institutional program for specific religious reasons; and

                                         E)      Issues involving the training, screening, and reimbursement of
                                                 religious volunteers.

                 ;(C).-     The Board shall confer with religious leaders or faith representatives from various
                            faith groups regarding the validity and legitimacy of the religious request and the
                            sincerity of the committed persons' beliefs, as the Board determines necessary.

                  (Source: Added at 19 Ill. Reg. 6515, effective May 1, 1995)




                                                 O'Neal v. Roias, 16-4063 (C.D. 111.), Document No.             000050
www.ilga.gov/commission/jcar/admincode/020/020004250000400R.htm1                                                         1/1
113/2020                                                               Section 425



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                            CHAPTER I: DEPARTMENT OF CORRECTIONS
                             SUBCHAPTER d: PROGRAMS AND SERVICES
                   PART 425 CHAPLAINCY SERVICES AND RELIGIOUS PRACTICES
                       SECTION 425.70 ACCOMMODATION OF RELIGIOUS DIETS



           Section 425.70 Accommodation of Religious Diets
                    - -,
                  'a) .I Committed persons shall be permitted to abstain from any foods the consumption of
                         which violates their required religious tenets.

                   b)       Any foods which contain pork or pork by-products shall be identified in accordance
                            with 20 Ill. Adm. Code 502.20.

                 . c)       A committed person may submit a written request to the facility chaplain to receive
                            an alternative diet for specific religious reasons. The request must contain written
                            verification that the committed person is a member of a faith group that requires
                            adherence to a particular diet and the specific requirements of the diet. r-Eligibility to
                            receive an alternative diet for specific religious reasons shall be determined by the
                            facility chaplain w.h,Q.shall ordinarily confer with a religious leader or faith
                            representative of the faith group at issue;..1 The facility chaplain and the religious
                            leader or faith representative may interview the committed person.

                  • d)      A committed person requesting a dietary modification required by a specific
                            religious holiday or ceremony must submit a written request to the facility chaplain
                            45 calendar days before the holiday or ceremony. The request must contain
                            verification that the committed person is a member of a faith group requiring the
                            dietary modification and the specific requirements of the dietary modification.
                            Eligibility to receive an alternative diet for a specific religious holiday or ceremony
                            shall be detennined by the facility chaplain who shall ordinarily confer with a
                            religious leader or faith representative of the faith group at issue. The facility
                            chaplain and religious leader or faith representative may interview the committed
                            person.

                    c)       A committed person who does not adhere to the alternative diet shall no longer
                             receive the alternative diet, unless otherwise approved by the Chief Administrative
                             Officer.

                    (Source: Added at 19 Ill. Reg. 6515, effective May 1, 1995)




                                                O'Neal v. Roias, 16-4063 (C.D. Ill.), Document No.          000054
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      4:18-cv-04063-SEM-TSH # 121-2                       Page 1 of 2                                            E-FILED
                                                                                  M onday, 20 Ju ly, 2020 11 :46:23 PM
                                                                                       Clerk, U.S. District Court, ILCD


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O'Neal, N53022,                                     )
                                                          )
         Plaintiff,                                       )
                                                          )
         V.                                               )     Case No. 18-4063-SEM-TSH
                                                          )
Manuel Rojas, et al.,                                     )
                                                          )
         Defendants.                                      )

                          DECLARATION OF KAREN NORMAN REES

         I, Karen Nonnan Rees, do hereby declare and state, under penalty of pe1jury, that I have

personal knowledge of the facts and matters discussed in this declaration, and if called as a witness,

that I am competent to testify and would state as follows:

         l.      I have been the Chaplain at Hill Correctional Center since March 1, 2019.

        2.       During ear h Friday during lent in 7070, 0ffe-nckrs at Hill C'orrertional Center were offered

meatless meals at all three meals without having to sign up for a special meal.

        3.       As Chaplain, it is my intent to have Hill Correctional Center provide three meatless meal

options each Friday during Lent in future years.

        4.       Cursillo is a weekend retreat that occurs once a year. Ultreya is a reunion group, based on

the Cursillo retreat, that occurs the third Tuesday of every month.

        5.       The Cursillo retreat and Ultreya are held in the Chapel of Hill Correctional Center.

        6.       The Hill Correctional Center Chapel has a maximum occupancy of 100.

        7.       During the Cursillo retreat, there can be as many as 30 volunteers, or more, who come to

Hill Correctional Center to participate in the retreat.

        8.       The number of offenders who can be allowed to participate in the Cursillo retreat is limited

by the maximum occupancy of the Hill Correctional Center Chapel.
     4 :18-cv-04063-SEM-T SH # 121-2                   Page 2 of 2




        9.       In the past, I have received offender requests to participate in the Cursillo retreat in excess

of the amount of space available in the chapel after accounting for the maximum occupancy requirement

and the number of volunteers.

        I 0.    Due to the occupancy limit and the number of volunteers, I have had to limit the number

of offenders who could participate in the Cursillo retreat.

FURHTER DECLARANT SAYETH NOT.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United States

of America that the foregoing is true and correct.




        Executed on              !
                      I \ / :1 L D
                                   Date)
                                                             ILLINOIS DEPARTMENT OF CORRECTIONS

                                                        Offender Request for Religious Diet
                                                                              Hill CC
                                                                                 Facility


I,    AA.Ro>I O~cA.L                                                           ,ID#: J/53022-                                , hereby request a religious
          . ·      Offender Name (Last, First M.1.)                                   A-n.J
                                                                                          /'t ,o.· 1,      /T             J ,/
diet aco/mmodation. I declare my religious affiliation as                                ~J!70liv :rJlMAN_,1~is request is for:                                   _CA1H"J.U
     -d A .,JOJJ ·J1,EAT 'V'£&Jvif~iet as an integral part of the practice of my declared religion._ASSTL'lf"NC
                       Type of diet (e.g. kosher, vegan, etc.)                                             }JON-~\/([~                \/~\/

     J      A religious meal for the observance of the following religious holiday or ceremony: fg;r;bA\{S AfCOMMO,M,T:Z:0)-
                                                                                                                                      Specify name of holiday/ceremony



__....-..e1~~~~~r..o6l...l~~~ll!L.-..l~~~~,!'...!...!.L.!=..~..lJ..JL...l:.4-!l!l,~lo!!....:..!.!~dU'·,hollc
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                                                                                                                                                                       all      fr.~
                                                                 Conditions of Participation

I understand that participation in a religious diet must be based on a sincerely held religious belief. If my request is
granted, I understand and acknowledge that:

•    Receipt of the religious diet will begin on the first day of a month and the diet will be in effect for no less than one
     calendar month.
•    I may request to terminate a religious diet at any time; however, the request.must be submitted in writing on an
     Offender Request, DOC 0286, and will not be effective until the first day of the month following in which the
     request was received .
•    I should not purchase or possess any food items that are not part of the religious diet and possessing food that
     violates the diet I requested may be deemed to demonstrate a lack of sincerity.
•    I am prohibited from exchanging or giving away any religious diet food or tray or taking, accepting, or trading for
     a food tray or for food from a food tray other than my approved diet tray and the violation of such is grounds for
     discipline under Ill. Adm. Code 504.
•    My commissary food purchases will be monitored by the Dietary Department and purchases of food that violate
     the diet I requested may be deemed to demonstrate a lack of sincerity.
•    My mealtime attendance will be monitored and acceptance of the specially prepared diet tray is mandatory. I
     understand that I should not miss more than three meals per week, without providing written justification to the
     Chaplain or Dietary Manager. I understand that unjustified failure to attend meals may be deemed to
     demonstrate a lack of sincerity.

I affirm that I have read and understand these conditions for participation in a religious diet, and that I have signed
voluntarily and without coercion.




Official Use Only
 D Approved                p;{Denied




 0-..V\                                               Date received by Dietary:
--&.~ ¼..s-s \ti'\                           vd
                                                    If approved, religious diets shall begin on the first day of the month following that in which the Request was received .
                                                   1\---- - - -- -- -- - - -- - - - - -- - - -- - - -- - - - - '



Distribution:   Chaplain, Dietary Manager,                                Prinr::t! o,i R1,cyc/ed Paper                                            DOC 0388 (Elf. 1112012)
                Offender
COUNTY OF ->)l<->-:~b--=i
                 ' .=--d "-----
                                        AFFIDAVIT

I, /4:Ai,_OJJ    o:>JEAL        .hl53CY22,<                                 , hereby declare
under penalty of perjury that the following is true and correct based upon my personal
knowledge, and that I am competent to testi thereto if called upon as a witness.
         •            \.A.   - .           . .                                          •




PLEASE TAKE NOTICE that on ~e~t,ef\"\b{_r            25 ,     20.20, I placed the attached or
enclosed documents in the institutional mail at UtJJR:y HXLL               Correctional Center,
properly addressed to the parties listed above for mailing through the United States Postal
Service.

Pursuant to 28 USC 1746, 18 USC 1621 or 735 ILCS 5 1-109, I declare, under penalty of
perjury, that I am a named party in the above action, that I have read the above documents,
and that the information contained therein is true and correct to the best o my knowledge.

Dated   \'.Septeirih«25,2-020                     /sl_..,,::::.......,4!~~~~:::__=:...=__.::J.--._ _~ _
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